       Case 19-10872-KG   Doc 93-2   Filed 05/01/19   Page 1 of 2




                    EXHIBIT A
                      ~~s~~~~ ~~~~~~~~~




DOCS SF:7001093
Fuse Media
Schedule of Contracts to 6e Assigned to Fuse, LLC and Assumed
As ofS/1/2019




      1 Fuse Meuia, Inc.                           Apple Financial Services                     I~ppie rinanciat -Computer Cap Lease       Cap lease                0


      2 Fuse Media, Inc.                           Baycap LLC                                   Baycap - Verrex Equip Purchase Cap Lease   Cap Lease                0


      3 Fuse Nedia Inc.                            CIT Bank, N.A.                               CIT -Past?rod Cap Eease                    Cap Lease                0


      4 Fuse Media, Inc.                           ECN Financial LLC                            ECN/PNC -Post Prod Cap Lease               Cap Lease                0


      S Pvse Medla, 3nC.                           Everpank Commercial finance, lnc.            Everbank-Post Prod Cap lease               Cap Lease                D

                                                   Hewlett-Packard Financial Services
      6 Fuse Media, Inc.                           Company                                      HP -Post Prod Cap Lease                    Cap Lease                0


      7 Fuse Media Inc.                            IBM Credit LLC                               IBM -Past Prod Cap Lease                   Cap Lease                0


      8 Fuse Media, Inc.                           LEAF Capital Funding, LLC                    Leaf- Glendale Furniture Cap Lease         Cap Lease                0
                                                                                                                                                                        Case 19-10872-KG




      9 fuse Media, Inc.                           LEAF Capital Funding, llC                    Leaf -Post Prod Cap Lease                  Cap Lease                0

     10 Fuse Media, Inc.                           Susquehanna Commercial Finance, Inc.         Susquehanna/BB&T -Post Prod Cap lease      Cap Lease           3,618

                                                   U.S. Bank Equipment Plnance, a division of
     11 Fuse Media Inc                             U.S. Bank National Association               US Bank -Post Prod Cap lease               Cap Lease            G,011

     12 Fuse Media, Inc.                           UniFi Equipment Finance, Inc.                UniFi -Post Prod Cap Lease                 Cap Lease                0
                                                                                                                                                                        Doc 93-2




     13 ruse Media,inc.                            Western Equipment Finance, Int,              VHestern -Post Prod Cap Lease              Cap lease                D

     14 Fuse Media, Inc.                           Toshiba Financial Services                   Toshiba (Fuse LA Copier Lease)             Operating                0

     15 fuse Media, Inc.                           APCO Acceptance Corporation                     AFCOIU51 insuranm - D&0                 Other                    Q
                                                   FTI Consulting, Inc. and FTI Capital Advisors,
     16 Fuse Media Inc.                            LLC                                             FTI Consulting                          Other                    0
                                                   F3'I Consul#fns, Inc, and FTI Capital Advisors,
      17 Fuse Media Inc.                           LLC                                             FFI Consulting(Amendment)               Other                    0

      18 Fuse Media Inc                             Oracle America, Inc.                        Oracle- i~etsuite ERP                      Other                    0
                                                                                                                                                                        Filed 05/01/19




      19 Fuse Media Inc                             Oracle America, Inc.                        Oracle - Netsuite PBCS                     Other                    0

      20 Fuse Media, Inc.                           Tubular Labs Inc.                           Tubularlabs -Digital Service Agreement     Other                    0
      21 E°USE MEDIA, LLC                           First Round Films, L"~.0                    AC4-First Round Pifms-She Started ft       ProyTrammin~+            0

      22 FUSE MEDIA, lLC                            Legacy Distribution, LLC                    ACQ- Lega cy(8 Music Documentaries)        Programming              0

      23 Fuse Media                                 Creative Circle                             Creative Circle                            Staf£in~             9,975

      24 Fuse Media                                 J.R. Berry Search Group, Inc.               1R Berry                                   Staffing                 0
                                                                                                                                                                        Page 2 of 2




      25 Fuse Media, LLC                            Onward Search, inc.                         Onward Search                              Statfin~                 0

      26 Fuse Media                                 Stability Technology Partners, LLC          Stability Technolog/ Partners              Staffing                 0

      27 Fuse Media, Enc.                           De Lade Eanden Financial Services, Inc.     ~ela~e (fuse NY Lopier Leased              Op~^ratin~               0
      28 Fuse Media, Inc.                           Cogent Valuation                            Cogent                                     Other                    0


                                                                                                                                                           $   19,610
